          Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 1 of 28




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________________
ALFONSO ESCALANTE ROJAS and
FLORENTINO BAUTISTA,
on behalf of themselves, FLSA Collective Plaintiffs,
and the Class,                                         Case No.:

                     Plaintiffs,                       CLASS AND
                                                       COLLECTIVE ACTION - - ------
                        v.                             COMPLAINT

PIZZA PETE’S LLC                                       Jury Trial Demanded
      d/b/a PIZZA PETE’S,
PFKM CO LLC
      d/b/a BRAVO PIZZA,
12 APOSTLES LLC
      d/b/a BRAVO PIZZA,
MFKA ENTERPRISES INC.
      d/b/a BRAVO PIZZA,
BEK 1 LLC
      d/b/a BRAVO PIZZA,
HASHEM MELECH INC.
      d/b/a BRAVO PIZZA,
LFL ENTERPRISES INC.
      d/b/a BRAVO PIZZA,
ASFJ ENTERPRISES INC.
      d/b/a BRAVO KOSHER PIZZA,
18 PIZZA LLC
      d/b/a BRAVO KOSHER PIZZA,
JASK ENTERPRISES INC.
      d/b/a FRANKIE BOY’S PIZZA,
FRANK LIBRETTA, MICHAEL LIBRETTA,
TANIA FELLUS, and KENNETH FELLUS,

                      Defendants.
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 2 of 28




       Plaintiff ALFONSO ESCALANTE ROJAS (“Plaintiff ROJAS”) and Plaintiff

FLORENTINO BAUTISTA (“Plaintiff BAUTISTA”) (collectively, “Plaintiffs”), on behalf of

themselves and others similarly situated, by and through their undersigned attorneys, hereby file

this Class and Collective Action Complaint against Defendants PIZZA PETE’S LLC d/b/a

PIZZA PETE’S, PFKM CO LLC d/b/a BRAVO PIZZA, 12 APOSTLES LLC d/b/a BRAVO

PIZZA, MFKA ENTERPRISES INC d/b/a BRAVO PIZZA, BEK 1 LLC d/b/a BRAVO PIZZA,

HASHEM MELECH INC d/b/a BRAVO PIZZA, LFL ENTERPRISES INC d/b/a BRAVO

PIZZA, ASFJ ENTERPRISES INC d/b/a BRAVO KOSHER PIZZA, 18 PIZZA LLC d/b/a

BRAVO KOSHER PIZZA, JASK ENTERPRISES INC. d/b/a FRANKIE BOY’S PIZZA,

(collectively, the “Corporate Defendants”), FRANK LIBRETTA, MICHAEL LIBRETTA,

TANIA FELLUS, and KENNETH FELLUS (collectively, the “Individual Defendants”; and

together with the Corporate Defendants, “Defendants”), and state as follows:

                                       INTRODUCTION

      1.    Plaintiffs allege, pursuant to the Fair Labor Standards Act, as amended, 29 U.S.C. §§

201 et. seq. (“FLSA”), that they and others similarly situated are entitled to recover from

Defendants: (1) unpaid wages including overtime, due to invalid tip credit, (2) unpaid overtime,

(3) unpaid wages due to time-shaving, (4) liquidated damages, and (5) attorneys’ fees and costs.

      2.    Plaintiffs further allege that, pursuant to the New York Labor Law (“NYLL”), they

and others similarly situated are entitled to recover from Defendants: (1) unpaid wages including

overtime, due to invalid tip credit, (2) unpaid spread of hours premiums, (3) unpaid wages due to

time-shaving, (4) statutory penalties, (5) liquidated damages, and (6) attorneys’ fees and costs.




                                                   2
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 3 of 28




                                JURISDICTION AND VENUE

      3.    This Court has jurisdiction over this controversy pursuant to 29 U.S.C. § 216(b), 28

U.S.C. §§ 1331, 1337 and 1343 and has supplemental jurisdiction over Plaintiffs’ state law claims

pursuant to 28 U.S.C. § 1367.

      4.    Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391.

                                              PARTIES

      5.    Plaintiff ROJAS is a resident of Richmond County, New York.

      6.    Plaintiff BAUTISTA is a resident of Bronx County, New York.

      7.    Defendants operate a chain of pizzerias as a single integrated enterprise under the trade

names “Pizza Pete’s,” “Bravo Pizza,” “Bravo Kosher Pizza,” and “Frankie Boy’s Pizza” at the

following locations in New York City:

           a. 528 Columbus Avenue, New York, NY 10024 (“Pizza Pete’s”)

           b. 107 West 37th Street, New York, NY 10018 (“Bravo Kosher Pizza Midtown”);

           c. 17 Trinity Place, New York, NY 10006 (“Bravo Kosher Pizza Financial District”);

           d. 115 East 14th Street, New York, NY 10003 (“Bravo Pizza Union Square”);

           e. 360 7th Avenue, New York, NY 10001 (“Bravo Pizza 7th Avenue”);

           f. 413 New Dorp Lane, Staten Island, NY 10306 (“Bravo Pizza Staten Island”);

           g. 257 Park Avenue South, New York, NY 10010 (“Bravo Pizza Gramercy”);

           h. 6 East 42nd Street, New York, NY 10036 (“Bravo Pizza 42nd Street”);

           i. 902 Kings Highway, Brooklyn, NY 11223 (“Bravo Kosher Pizza Brooklyn”);

           j. 6926 Main Street, Flushing, NY 11367 (“Bravo Pizzeria and Restaurant”); and

           k. 1367 Broadway, New York, NY 10018 (“Frankie Boy’s”);

               (collectively, the “Restaurants”).



                                                    3
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 4 of 28




      8.    The Restaurants are operated by Defendants as a single integrated enterprise. The

Restaurants are commonly owned by Defendants. The Restaurants are advertised on the

following websites: https://www.pizzapetesmenu.com/, https://www.bravopizzany.com,

https://www.bravopizzaqueens.com/, https://www.bravobrooklyn.com, and

https://www.bravokosherpizza.com. Amongst Defendants’ Restaurants, the Frankie Boy’s

location advertises through an Instagram page at the following address:

https://www.instagram.com/frankieboyspizza/. See Exhibit A for a reproduction of the

aforementioned websites. Specifically, the Restaurants are engaged in related activities, share

common ownership, and have a common business purpose:

           a. The Restaurants share similar menus. Although variations may exist amongst the

               offerings for each of Defendants’ Restaurants, it is evident that a prominent focus

               of each of these establishments is centered around the serving of New York-style

               pizza. See Exhibit B for a reproduction of each the menus used at Defendants’

               Restaurants.

           b. Supplies are interchangeable among the Restaurant locations;

           c. Employees are interchangeable among the Restaurant locations; and

           d. The Restaurants share payroll methods and have a single, centralized system of

               labor relations for employees.

      9.    In addition, each of the following online articles further establishes that the

Restaurants are owned and operated by Defendants as single integrated enterprise:

           a. Attached hereto as Exhibit C is a January 28, 2020 article published on Staten

               Island Live’s website, at https://www.silive.com/entertainment/2020/01/bravo-

               pizza-comes-to-the-former-gennaros-location.html, describing the anticipated



                                                   4
Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 5 of 28




   opening of a Bravo Pizza location on Staten Island, and states: “[Michael] Libretta,

   whose family owns five other parlors—including Frankie Boy, Pizza Pete’s and

   three Bravo-Brand parlors, all in Manhattan.” This article additionally notes that in

   preparation for the opening of the Staten Island Bravo Pizza location, Individual

   Defendants were “training the kitchen crew at the 7th Avenue [Bravo] location.”

b. Attached hereto as Exhibit D is a February 6, 2019 on Kosher Squared’s website,

   at https://koshersquared.com/bravo-pizza-coming-to-brooklyn/, anticipating the

   opening of the Brooklyn Restaurant location and stating the following:

                  Bravo’s has quite an interesting story when it comes to the kosher
           market.

                  Originally a wholly non-kosher chain of pizza stores scattered
           throughout Manhattan, that changed with the Midtown location on
           Broadway becoming kosher. . . .

                   The store eventually relocated to 107 West 37th, and a non-kosher
           pizza store called Frankie Boy’s took its place at the original location on
           Broadway. This move just a block away was due to the popularity of the
           original location. . . . Bravo opened another location downtown on Trinity
           Place.

c. Attached hereto as Exhibit E is a January 30, 2018 article published on Great

   Kosher Restaurants Magazine’s website, at

   https://www.greatkosherrestaurants.com/restaurants/3988/bravo-pizzeria-and-

   restaurant-queens, describing the Flushing Restaurant location and stating the

   following:

                   Following on from the success of Bravo Pizza and with many
           requests to open elsewhere Tania and Warren Fellus decided to take this
           family business to Queens, where they took over the old La Bella restaurant
           and turned it into Bravo Pizzeria on one side and Bravo Restaurant on the
           other, each with their own separate entrances. This is a true family business
           with the Pizzeria being overseen by son Joseph Fellus and the Restaurant
           by daughter Tiffany Fellus . . . .

                                       5
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 6 of 28




                             After a had a full renovation and the replacement of all the
                      restaurant equipment, the Fellus family have really invested in this true
                      family owned and run business. This continues with the day to day
                      operations, as son Joseph personally takes care of sourcing all the
                      ingredients . . . .

                             With the Pizzeria following the menu of the Manhattan branch you
                      can pick up all your favorite slices and pies at the Queens location knowing
                      you have all the original flavors and tastes.

     10.    Corporate Defendant PIZZA PETE’S LLC d/b/a PIZZA PETE’S is a domestic limited

liability company organized under the laws of the State of New York, with a principal place of

business and address for service of process located at c/o Frank Libretta, 529 Columbus Avenue,

New York, NY 10024.

     11.    Corporate Defendant PFKM CO LLC d/b/a BRAVO PIZZA is a domestic limited

liability company organized under the laws of the State of New York, with a principal place of

business located at 115 East 14th Street, New York, NY 10003 and an address for service of

process located c/o Kenneth Fellus, 115 East 14th Street, New York, NY 10003.

     12.    Corporate Defendant 12 APOSTLES LLC d/b/a BRAVO PIZZA is a domestic limited

liability company organized under the laws of the State of New York, with a principal place of

business at 6 East 42nd Street, New York, NY 10036, and an address for service of process located

at 13248 Telecom Drive, Tampa, FL 33637.

     13.    Corporate Defendant MFKA ENTERPRISES INC d/b/a BRAVO PIZZA is a

domestic business corporation organized under the laws of the State of New York, with a principal

place of business located at 360 7th Ave., New York, NY 10001, and an address for service of

process located at c/o Legalinc Corporate Services Inc., 1967 Wehrle Drive, Suite 1—086,

Buffalo, NY 14221.




                                                  6
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 7 of 28




     14.    Corporate Defendant BEK 1 LLC d/b/a BRAVO PIZZA is a domestic limited liability

company organized under the laws of the State of New York, with a principal place of business

located at 257 Park Ave South, New York, NY 10036 and an address for service of process located

at c/o Elbasan Lajqi, 25 Lindsey Lane, Putnam Valley, NY 10579.

     15.    Corporate Defendant HASHEM MELECH INC. d/b/a BRAVO PIZZA, is a domestic

business corporation organized under the laws of the State of New York, with a principal place of

business located at 6926 Main Street, Flushing, NY 11367, and an address for service of process

located at c/o Corporation Service Company, 80 State Street, Albany, NY 12207.

     16.    Corporate Defendant LFL ENTERPRISES INC d/b/a BRAVO PIZZA is a domestic

limited liability company organized under the laws of the State of New York, with a principal

place of business and address for service of process located at 413 New Dorp Lane, Staten Island,

NY 10306.

     17.    Corporate Defendant ASFJ ENTERPRISES INC d/b/a BRAVO KOSHER PIZZA is

a domestic business corporation organized under the laws of the State of New York, with a

principal place of business located at 107 West 37th Street, New York, NY 10018 and an address

for service of process located at c/o Kenneth Fellus, 4 Green Drive, Roslyn, NY 11576.

     18.    Corporate Defendant 18 PIZZA LLC d/b/a BRAVO KOSHER PIZZA is a domestic

limited liability company organized under the laws of the State of New York, with a principal

place of business located at 17 Trinity Place, New York, NY 10006, and an address for service of

process located at c/o David Abrams, 17 Trinity Place, New York, NY 10006.

     19.    Corporate Defendant JASK ENTERPRISES INC. d/b/a FRANKIE BOY’S PIZZA, is

a domestic business corporation organized under the laws of the State of New York, with a

principal place of business located at 1367 Broadway, New York, NY 10018, and an address for



                                                  7
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 8 of 28




service of process located at c/o Mango & Iacoviello LLP, 14 Penn Plaza, Suite 1919, New York,

NY 10122.

     20.    Individual Defendant FRANK LIBRETTA is an owner and principal of the Corporate

Defendants. Defendant FRANK LIBRETTA exercises operational control as it relates to all

employees including Plaintiffs, FLSA Collective Plaintiffs and the Class. Defendant FRANK

LIBRETTA frequently visited each of the Restaurant locations. Defendant FRANK LIBRETTA

exercises the power to (and also delegates to managers and supervisors the power to) fire and hire

employees, supervise and control employee work schedules and conditions of employment, and

determine the rate and method of compensation of employees including those of Plaintiffs, FLSA

Collective Plaintiffs and the Class. At all times, employees could complain to Defendant FRANK

LIBRETTA directly regarding any of the terms of their employment, and Defendant FRANK

LIBRETTA had the authority to effect any changes to the quality and terms of employees’

employment, including changing their schedule, compensation, or terminating or hiring such

employees, and to reprimand any employees for performing their job duties improperly. Defendant

FRANK LIBRETTA possesses the power and authority to supervise and control supervisors of

Plaintiffs, FLSA Collective Plaintiffs, and Class members and can reprimand employees.

     21.    Individual Defendant MICHAEL LIBRETTA is an owner and principal of the

Corporate Defendants. Defendant MICHAEL LIBRETTA exercises operational control as it

relates to all employees including Plaintiffs, FLSA Collective Plaintiffs and the Class. Defendant

MICHAEL LIBRETTA frequently visited each of the Restaurant locations. Defendant MICHAEL

LIBRETTA exercises the power to (and also delegates to managers and supervisors the power to)

fire and hire employees, supervise and control employee work schedules and conditions of

employment, and determine the rate and method of compensation of employees including those of



                                                  8
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 9 of 28




Plaintiffs, FLSA Collective Plaintiffs and the Class. At all times, employees could complain to

Defendant MICHAEL LIBRETTA directly regarding any of the terms of their employment, and

Defendant MICHAEL LIBRETTA had the authority to effect any changes to the quality and terms

of employees’ employment, including changing their schedule, compensation, or terminating or

hiring such employees, and to reprimand any employees for performing their job duties

improperly. Defendant MICHAEL LIBRETTA possesses the power and authority to supervise

and control supervisors of Plaintiffs, FLSA Collective Plaintiffs, and Class members and can

reprimand employees.

     22.    Individual Defendant TANIA FELLUS is an owner and principal of the Corporate

Defendants. Defendant TANIA FELLUS exercises operational control as it relates to all

employees including Plaintiffs, FLSA Collective Plaintiffs and the Class. Defendant TANIA

FELLUS frequently visited each of the Restaurant locations. Defendant TANIA FELLUS

exercises the power to (and also delegates to managers and supervisors the power to) fire and hire

employees, supervise and control employee work schedules and conditions of employment, and

determine the rate and method of compensation of employees including those of Plaintiffs, FLSA

Collective Plaintiffs and the Class. At all times, employees could complain to Defendant TANIA

FELLUS directly regarding any of the terms of their employment, and Defendant TANIA

FELLUS had the authority to effect any changes to the quality and terms of employees’

employment, including changing their schedule, compensation, or terminating or hiring such

employees, and to reprimand any employees for performing their job duties improperly. Defendant

TANIA FELLUS possesses the power and authority to supervise and control supervisors of

Plaintiffs, FLSA Collective Plaintiffs, and Class members and can reprimand employees.




                                                  9
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 10 of 28




     23.      Individual Defendant KENNETH FELLUS is an owner and principal of the Corporate

Defendants. Defendant KENNETH FELLUS exercises operational control as it relates to all

employees including Plaintiffs, FLSA Collective Plaintiffs and the Class. Defendant KENNETH

FELLUS frequently visited each of the Restaurant locations. Defendant KENNETH FELLUS

exercises the power to (and also delegates to managers and supervisors the power to) fire and hire

employees, supervise and control employee work schedules and conditions of employment, and

determine the rate and method of compensation of employees including those of Plaintiffs, FLSA

Collective Plaintiffs and the Class. At all times, employees could complain to Defendant

KENNETH FELLUS directly regarding any of the terms of their employment, and Defendant

KENNETH FELLUS had the authority to effect any changes to the quality and terms of

employees’ employment, including changing their schedule, compensation, or terminating or

hiring such employees, and to reprimand any employees for performing their job duties

improperly. Defendant KENNETH FELLUS possesses the power and authority to supervise and

control supervisors of Plaintiffs, FLSA Collective Plaintiffs, and Class members and can

reprimand employees.

     24.      At all relevant times, each of the Corporate Defendants was and continues to be an

“enterprise engaged in commerce” within the meaning of the FLSA, NYLL, and regulations

thereunder.

     25.      At all relevant times, the work performed by Plaintiffs, FLSA Collective Plaintiffs,

and Class Members was directly essential to the business operated by Defendants.

     26.      Although Plaintiffs did not work at all of the Restaurants, the Restaurants are

appropriately named in this Complaint through the relevant Corporate Defendants described

above. Because the Restaurants share identical illegal wage and hour policies, the Restaurants and



                                                   10
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 11 of 28




the relevant Corporate Defendants are properly named on the basis of their outstanding liability to

the Class Members for whom Plaintiffs seek to represent.

                          FLSA COLLECTIVE ACTION ALLEGATIONS

      27. Plaintiffs bring claims for relief as a collective action pursuant to FLSA Section 16(b),

29 U.S.C. § 216(b), on behalf of all current and former non-exempt employees, including but not

limited to, cooks, cashiers, delivery persons, bussers, and food preparers, employed by Defendants

on or after the date that is six (6) years before the filing of the Complaint (“FLSA Collective

Plaintiffs”).

      28.       At all relevant times, Plaintiffs and other FLSA Collective Plaintiffs have been and are

similarly situated, have had substantially similar job requirements and pay provisions, and have

been and are subjected to Defendants’ decisions, policies, plans, programs, practices, procedures,

protocols, routines, and rules—all of which have culminated in a willful failure and refusal to pay

Plaintiffs and FLSA Collective Plaintiffs their (i) proper wages due to Defendants’ time-shaving,

and (ii) proper overtime. A subclass of tipped employees also have a claim for unpaid wages due

to an invalid tip credit and illegally retained gratuities. The claims of Plaintiffs stated herein are

essentially the same as those of other FLSA Collective Plaintiffs.

      29.       The claims for relief are properly brought under and maintained as an opt-in collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b). The FLSA Collective Plaintiffs

are readily ascertainable. For purposes of notice and other purposes related to this action, their

names and addresses are readily available from Defendants. Notice can be provided to FLSA

Collective Plaintiffs via first class mail to the last address known to Defendants.

                         RULE 23 CLASS ALLEGATIONS – NEW YORK

      30.       Plaintiffs bring claims for relief pursuant to the Federal Rules of Civil Procedure



                                                      11
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 12 of 28




(“F.R.C.P.”) Rule 23, on behalf of all current and former non-exempt employees, including but

not limited to, cooks, cashiers, delivery persons, bussers and food preparers, employed by

Defendants on or after the date that is six (6) years before the filing of the Complaint (the “Class,”

or “Class Members”).

      31.    The Class Members are readily ascertainable. The number and identity of the Class

Members are determinable from the records of Defendants. The hours assigned and worked, the

position held, and rates of pay for each Class Member may also be determinable from Defendants’

records. For purposes of notice and other purposes related to this action, their names and addresses

are readily available from Defendants. Notice can be provided by means permissible under

F.R.C.P. 23.

      32.    The proposed Class is so numerous such that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown because the facts on which the calculation of that

number rests are presently within the sole control of Defendants, there is no doubt that there are

more than forty (40) members of the Class. The Class further includes a subclass of tipped

employees comprised of, but not limited to, bussers, food preparers, and delivery persons (the

“Tipped Subclass”) who also number more than forty (40). Plaintiffs are members of the Class and

the Tipped Subclass.

      33.    Plaintiffs’ claims are typical of those claims that may be alleged by any member of the

Class, and the relief sought is typical of the relief that would be sought by each member of the

Class in separate actions. All the Class members were subjected to the same corporate practices of

Defendants, including (i) unpaid overtime compensation, (ii) unpaid wages due to a policy of time-

shaving, (iii) unpaid spread of hours compensation, (iv) failing to provide wage statements in



                                                    12
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 13 of 28




compliance with the New York Labor Law, and (iv) failing to provide wage and hour notices upon

hiring and as required thereafter, pursuant to the New York Labor Law. Defendants’ corporate-

wide policies and practices affected all Class members similarly, and Defendants benefited from

the same type of unfair and/or wrongful acts as to each Class member. Plaintiffs and other Class

members sustained similar losses, injuries, and damages arising from the same unlawful policies,

practices, and procedures by Defendants.

      34.    With regard to Plaintiffs and the Tipped Subclass, Defendants failed to pay them the

proper minimum wage and proper overtime due to Defendants’ policy and practice of claiming an

invalid tip credit. Defendants were not entitled to claim any tip credit as Defendants failed to meet

the statutory requirements under the New York Labor Law. Plaintiffs and the Tipped Subclass

suffered from Defendants’ failure to pay proper wages due to Defendants’ invalid tip credit

allowance because Defendants (i) failed to properly provide tip credit notice at hiring and annually

thereafter; (ii) failed to inform Plaintiffs and the Tipped Subclass that the tip credit claimed by

Defendants cannot exceed the amount of tips actually received by them; (iii) failed to inform

Plaintiffs and the Tipped Subclass that all tips received by them are to be retained by them except

pursuant to a valid tip pooling arrangement; (iv) failed to inform Plaintiffs and the Tipped Subclass

that tip credit will not apply unless they have been informed of the foregoing tip credit notice

requirement; (iv) claimed a tip credit for all hours worked by Plaintiffs and the Tipped Subclass

despite having caused Plaintiffs and the Tipped Subclass to engage in non-tipped duties for hours

exceeding 20% of the total hours worked each week; (v) failed to provide proper wage statements

clearly indicating tip credit allowance for each payment period; and (vi) failed to accurately keep

track of daily tips earned and maintain records thereof. In addition, Defendants illegally retained

gratuities from Plaintiffs and the Tipped Subclass by retaining a “delivery fee” without informing



                                                   13
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 14 of 28




customers that such a fee did not constitute a gratuity and would not be wholly remitted to tipped

employees.

      35.    Defendants’ corporate-wide policies and practices affected all Class members.

Similarly, and Defendants benefited from the same type of unfair and/or wrongful acts as to each

Class member. Similarly, and Defendants benefited from the same type of unfair and/or wrongful

acts as to each Class member. Plaintiffs and other Class members sustained similar losses, injuries

and damage arising from the same unlawful policies, practices, and procedures by Defendants.

      36.    Plaintiffs are able to fairly and adequately protect the interests of the Class and have

no interests antagonistic to the Class. Plaintiffs are represented by attorneys who are experienced

and competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

      37.    A class action is superior to other available methods for the fair and efficient

adjudication of the controversy—particularly in the context of the wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a large number of similarly situated

persons to prosecute common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because of losses, injuries and damages suffered by each of the individual Class members are

small in the sense pertinent to a class action analysis, the expenses and burden of individual

litigation would make it extremely difficult or impossible for the individual Class members to

redress the wrongs done to them. On the other hand, important public interests will be served by

addressing the matter as a class action. The adjudication of individual litigation claims would result

in a great expenditure of Court and public resources; however, treating the claims as a class action



                                                    14
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 15 of 28




would result in a significant saving of these costs. The prosecution of separate actions by individual

members of the Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Class, establishing incompatible standards of conduct for

Defendants and resulting in the impairment of class members’ rights and the disposition of their

interests through actions to which they were not parties. The issues in this action can be decided

by means of common, class-wide proof. In addition, if appropriate, the Court can, and is

empowered to, fashion methods to efficiently manage this action as a class action.

      38.    Defendants and other employers throughout the state violate the New York Labor

Law. Current employees are often afraid to assert their rights out of fear of direct or indirect

retaliation. Former employees are fearful of bringing claims because doing so can harm their

employment, future employment, and future efforts to secure employment. Class actions provide

class members who are not named in the Complaint a degree of anonymity, which allows for the

vindication of their rights while eliminating or reducing these risks.

      39.    There are questions of law and fact common to the Class which predominate over any

questions affecting only individual class members, including:

       a.     Whether Defendants employed Plaintiffs and the Class within the meaning of the New

              York law;

       b.     What are and were the policies, practices, programs, procedures, protocols and plans

              of Defendants regarding the types of work and labor for which Defendants did not

              properly pay Plaintiffs and the Class members;

       c.     At what common rate, or rates subject to common methods of calculation, was and

              are Defendants required to pay Plaintiffs and the Class members for their work;




                                                    15
     Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 16 of 28




d.     Whether Defendants properly notified Plaintiffs and the Class members of their

       hourly rates and overtime rates;

e.     Whether Defendants properly compensated Plaintiffs and Class members their

       overtime premiums for all hours worked in excess of forty (40);

f.     Whether Defendants properly provided notice to Plaintiffs and the Tipped Subclass

       that Defendants were taking a tip credit;

g.     Whether Defendants accurately tracked the amount of tips earned each day and

       maintained records therefore;

h.     Whether Defendants caused Plaintiffs and the Tipped Subclass to engage in non-

       tipped duties exceeding 20% of each workweek;

i.     Whether Defendants took the proper amount of tip credit allowance for each payment

       period under the New York Labor Law;

j.     Whether Defendants subjected Plaintiffs and the Tipped Subclass to an invalid tip

       pooling policy;

k.     Whether Defendants retained or failed to remit gratuities to Plaintiffs and the Tipped

       Subclass;

l.     Whether Defendants paid Plaintiffs and Class members their spread of hours

       premium;

m.     Whether Defendants provided proper wage statements informing (i) Plaintiffs and the

       Tipped Subclass of the amount of tip credit taken for each payment period, and (ii)

       all non-exempt employees of information required to be provided on wage statements

       under the New York Labor Law; and




                                            16
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 17 of 28




       n.     Whether Defendants provided proper wage notice, at date of hiring and annually

              thereafter, to all non-exempt employees per requirements of the New York Labor

              Law.

                                  STATEMENT OF FACTS

Plaintiff ROJAS:

      40.    In or around June 2016, Plaintiff ROJAS was hired by Defendants to work as a

delivery person for Defendants’ Pizza Pete’s Restaurant, located at 528 Columbus Avenue, New

York, NY 10024. Plaintiff ROJAS’ employment ended in or around August 2021.

      41.    From the start of his employment until in or around March 2018, Plaintiff ROJAS was

scheduled to work on Tuesdays to Saturdays, from 4:00 p.m. to 11:00 p.m., and on Sundays, from

10 a.m. to 11p.m. for a total of forty-eight (48) hours per week. From in or around March 2018

until around January 2019, Plaintiff ROJAS was scheduled to work on Mondays to Saturdays,

from 4:00 p.m. to 11:00 p.m., and on Sundays from 10 a.m. to 11 p.m. for a total of fifty-five (55)

hours per week. From in or around January 2019 until the end of his employment around August

2021, Plaintiff ROJAS was scheduled to work on Wednesdays to Saturdays, from 4:00 p.m. to

11:00 p.m., and on Sundays from 10 a.m. to 11 p.m. for a total of forty-one (41) hours per week.

      42.    From the start of his employment until September 2016, Plaintiff ROJAS was paid at

a rate of six ($6) dollars an hour. From September 2016 until in or around January 2019, Plaintiff

ROJAS was paid eight ($8) dollars an hour. From in or around January 2019 until the end of his

employment in August 2021, Plaintiff ROJAS was paid ten ($10) dollars an hour. Plaintiff ROJAS

was paid at a rate below the minimum wage rate. Similarly, FLSA Collective Plaintiffs and Class

members were paid at a tipped rate below the minimum wage rate.




                                                  17
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 18 of 28




      43.    From the start of his employment until January 2019, Plaintiff ROJAS was not paid

for all of his overtime hours worked in excess of forty (40). Once Plaintiff ROJAS complained in

January 2019, Defendants began to pay Plaintiff ROJAS his proper overtime premium.

      44.    Throughout Plaintiff ROJAS’ employment, Defendants routinely forced Plaintiff

ROJAS to partake in a significant amount of off-the-clock work. Although he had already clocked

out at the end of his shift, Plaintiff was required by Defendants’ to make one final delivery that

would take at least twenty (20) mins before he would go home. Plaintiff would regularly make

these off-the-clock deliveries about five (5) times per week. Defendants were fully aware that

Plaintiff ROJAS had already clocked out, suggesting that, at Defendants’ Restaurants, there is a

culture of encouraging and forcing employees to take part in work activities that they would not

be compensated for. FLSA Collective Plaintiffs and Class members were similarly required to

perform off-the-clock work.

      45.    Plaintiff ROJAS frequently worked in excess of ten (10) hours a day. However,

Defendants failed to compensate Plaintiff ROJAS for his spread of hours premium. Class members

similarly worked days in excess of ten (10) hours and were also not compensated for their spread

of hours premium. Class members were similarly subjected to Defendants’ unlawful practice of

unpaid spread of hours premium.

      46.    Throughout Plaintiff ROJAS’ employment with Defendants, Defendants retained half

of the delivery fee charged to customers. This amount would vary between five ($5) to twenty

($20) dollars per delivery depending on the distance. At all relevant times to this action, customers

believed that their delivery fees were tips to be retained by Plaintiff ROJAS and there was notice

that the delivery fees were not gratuities. Similarly, FLSA Collective Plaintiffs and Class members

were routinely denied their tips due to the belief that the delivery fees were their tips.



                                                    18
           Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 19 of 28




     47.    Throughout his employment, Plaintiff ROJAS was often paid in cash. When this was

the case, Defendants periodically withheld an amount of twenty-five (25) dollars for “taxes” from

Plaintiff ROJAS’ weekly wages. FLSA Collective Plaintiffs and Class members were similarly

paid in cash and would periodically be subjected to Defendants’ unlawful practice of withholding

amounts from their weekly salary.

Plaintiff BAUTISTA:

     48.    In or around February 2020, Plaintiff BAUTISTA was hired by Defendants to work

as a delivery person for Defendants’ Pizza Pete’s Restaurant, located at 528 Columbus Avenue,

New York, NY 10024. Plaintiff’s employment ended in or around May 2021.

     49.    From the start of his employment with Defendants to March 2020, Plaintiff

BAUTISTA was scheduled to work on Mondays, from 10:00 a.m. to 11:00 p.m., and on Tuesdays,

Fridays, Saturdays and Sundays, from 4:00 p.m. to 11:00 p.m. for a total of approximately forty-

one (41) hours each week. In or around March 2020 to April 2020 Plaintiff BAUTISTA was

scheduled to work on Mondays and Tuesday, from 10:00 a.m. to 11:00 p.m., and on Wednesdays,

Thursdays, Fridays, Saturdays and Sundays, from 4:00 p.m. to 11:00 p.m. for a total of

approximately sixty-one (61) hours each week. Starting in or around April 2020 to the end of his

employment, Plaintiff BAUTISTA was scheduled to work on Mondays, from 10:00 a.m. to 11:00

p.m., and on Tuesdays, Fridays, Saturdays and Sundays, from 4:00 p.m. to 9:00 p.m. for a total of

approximately thirty-three (33) hours each week.

     50.    Throughout his employment, Plaintiff BAUTISTA was paid in cash at a tipped rate of

ten ($10) dollars per hour. Similarly, FLSA Collective Plaintiffs and Tipped Class members were

paid at a rate below the minimum wage rate.




                                                   19
              Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 20 of 28




      51.      Throughout Plaintiff BAUTISTA’s employment, Defendants routinely forced

Plaintiff BAUTISTA to partake in a significant amount of off-the-clock work. Although he had

already clocked out at the end of his shift, Plaintiff was required by Defendants’ to make one final

delivery that would take at least twenty (20) mins before he would go home. Plaintiff would

regularly make these off-the-clock deliveries about five (5) times per week. Defendants were fully

aware that Plaintiff BAUTISTA had already clocked out, suggesting that, at Defendants’

Restaurants, there is a culture of encouraging and forcing employees to take part in work activities

that they would not be compensated for. FLSA Collective Plaintiffs and Class members were

similarly required to perform off-the-clock work.

      52.      Plaintiff BAUTISTA worked in excess of ten (10) hours a day at least three times per

week. However, Defendants failed to compensate Plaintiff BAUTISTA for his spread of hours

premium. Class members similarly worked days in excess of ten (10) hours and were also not

compensated for their spread of hours premium.

      53.      Throughout Plaintiff BAUTISTA’S employment with Defendants, Defendants

retained half of the delivery fee charged to customers. This amount would vary between five ($5)

to twenty ($20) dollars per delivery depending on the distance. At all relevant times to this action,

customers believed that their delivery fees were tips to be retained by Plaintiff BAUTISTA and

there was notice that the delivery fees were not gratuities. Similarly, FLSA Collective Plaintiffs

and Class members were routinely denied their tips due to the belief that the delivery fees were

their tips.

      54.      Throughout his employment, Plaintiff BAUTISTA was often paid in cash. When this

was the case, Defendants periodically withheld an amount of thirty ($30) to thirty-five ($35)

dollars for “taxes” from Plaintiff BAUTISTA’s weekly wages. FLSA Collective Plaintiffs and



                                                    20
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 21 of 28




Class members were similarly paid in cash and would periodically be subjected to Defendants’

unlawful practice of withholding amounts from their weekly salary.

Wage And Hour Allegations:

      55.    At all relevant times, Plaintiffs, a subclass of FLSA Collective Plaintiffs, and the

Tipped Subclass were paid below the minimum wage at an invalid tip credit minimum wage.

Defendants were not entitled to claim any tip credit allowance under the FLSA or NYLL because

Defendants (i) failed to properly provide tip credit notice in violation of the FLSA; (ii) failed to

inform them that the tip credit claimed by Defendants cannot exceed the amount of tips actually

received by them in violation of the FLSA; (iii) failed to inform that all tips received by them are

to be retained by them except pursuant to a valid tip pooling arrangement in violation of the FLSA;

(iv) failed to inform that tip credit will not apply unless they have been informed of the foregoing

tip credit notice requirement in violation of the FLSA; (v) claimed tip credit for all hours worked

despite having caused tipped employees to engage in non-tipped duties for hours exceeding twenty

(20) percent of the total hours worked each workweek in violation of the FLSA and NYLL; (vi)

failed to accurately track daily tips earned or maintain records thereof; (vii) failed to properly

provide tip credit notice at hiring and annually thereafter in violation of the NYLL; (viii) failed to

provide a proper wage statement with every payment of wages informing Plaintiff and other tipped

employees of the amount of tip credit deducted for each payment period, in violation of the NYLL;

and (ix) illegally retained gratuities.

      56.    Plaintiffs, a subclass of FLSA Collective Plaintiffs, and the Tipped Subclass were

required to dedicate more than 20% of their working time performing non-tipped related activities,

such as cleaning the kitchen, bringing in supplies and ingredients to the pizza-men, sweeping and

mopping the restaurant, and doing general porter work. At all relevant times, Plaintiffs, a subclass



                                                    21
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 22 of 28




of FLSA Collective Plaintiffs, and the Tipped Subclass were compensated at the tipped credit

minimum wage rate or below, despite the fact that they engaged in non-tipped activities for hours

exceeding 20% of the total hours worked each week.

      57.    At all relevant times to this action, Plaintiffs, a subclass of FLSA Collective Plaintiffs,

and the Tipped Subclass suffered from Defendants’ illegal retention of gratuities. Defendants

illegally retained gratuities on deliveries by retaining at least half of the “delivery fee” on all

deliveries. Customers were not informed that such fees were not considered a gratuity and would

not be entirely distributed to tipped employees, but would instead be retained by Defendants. On

such deliveries, customers did not “tip” because they believed that the “delivery fee” was the

gratuity.

      58.    Defendants failed to provide spread of hours premium when Plaintiff and the Class

members worked days in excess of ten (10) hours, in violation of the New York Labor Law.

      59.    Defendants failed to provide Plaintiffs and the Class members with proper wage

notices at hiring and annually thereafter. Plaintiffs did not receive proper wage notices either upon

being hired or annually since the date of hiring in violation of the New York Labor Law.

      60.    Plaintiffs and Class members received wage statements that were not in compliance

with the New York Labor Law. Defendants are required to provide itemized listings of allowances

taken on a wage statement with every payment of wages. Defendants failed to satisfy the

requirements under the NYLL because the wage statements did not clearly include tip credit

allowance for each payment period. Plaintiffs and Class members also received fraudulent wage

statements that failed to accurately reflect the number of hours worked and their proper

compensation.




                                                     22
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 23 of 28




      61.    Defendants knowingly and willfully operated their business with a policy of not paying

either the FLSA minimum wage or the New York State minimum wage, and the proper overtime

rate thereof for hours worked over forty (40) in a workweek to Plaintiffs, FLSA Collective

Plaintiffs, and Class members. Defendants were not entitled to claim any tip credits under the

FLSA or NYLL.

      62.    Defendants knowingly and willfully operated their business with a policy of not paying

the New York State “spread of hours” premium to Plaintiffs and Class members, in violation of

the NYLL.

      63.    Defendants knowingly and willfully operated their business with a policy of illegally

retaining gratuities, in violation of the FLSA and the NYLL.

      64.    Defendants knowingly and willfully operated their business with a policy of not

providing proper wage statements as required under the NYLL.

      65.    Defendants failed to provide proper wage notices to employees, at the beginning of

employment and annually thereafter, pursuant to the requirements of the NYLL.

      66.    Plaintiffs retained Lee Litigation Group, PLLC to represent themselves, FLSA

Collective Plaintiffs, and Class members in this litigation and have agreed to pay the firm a

reasonable fee for its services.

                                   STATEMENT OF CLAIM

                                              COUNT I

               VIOLATION OF THE FAIR LABOR STANDARDS ACT
         ON BEHALF OF PLAINTIFFS AND FLSA COLLECTIVE PLAINTIFFS

      67.    Plaintiffs reallege and reaver Paragraphs 1 through 66 of this Class and Collective

Action Complaint as fully set forth herein.




                                                   23
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 24 of 28




      68.     At all relevant times, Defendants were and continue to be employers engaged in

interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207 (a). Further, Plaintiff, and FLSA Collective Plaintiffs are

covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

      69.     At all relevant times, Defendants employed Plaintiffs, and FLSA Collective Plaintiffs

within the meaning of the FLSA.

      70.     At all relevant times, each Corporate Defendant had gross annual revenues in excess

of $500,000.

      71.     At all relevant times, Defendants had a policy and practice of failing to pay the

statutory minimum wage and overtime to Plaintiffs and FLSA Collective Plaintiffs for all their

hours worked. Defendants failing to pay wages and overtime due to invalid tip credit under the

FLSA.

      72.     At all relevant times, Defendants had a policy and practice of illegally retaining

gratuities.

      73.     Records, if any exist, concerning the number of hours worked by Plaintiffs and FLSA

Collective Plaintiffs and the actual compensation paid to Plaintiffs and FLSA Collective Plaintiffs

should be in the possession and custody of the Defendants. Plaintiffs intend to obtain these records

by appropriate discovery proceedings to be taken promptly in this case and, if necessary, will then

seek leave of Court to amend this Class and Collective Action Complaint to set forth the precise

amount due.

      74.     Defendants failed to properly disclose or apprise Plaintiffs and FLSA Collective

Plaintiffs of their rights under the FLSA.




                                                   24
            Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 25 of 28




      75.     At all relevant times, Defendants had a policy and practice of illegally retaining

gratuities.

      76.     As a direct and proximate result of Defendants’ willful disregard of the FLSA,

Plaintiffs and FLSA Collective Plaintiffs are entitled to liquidated (i.e., double) damages pursuant

to the FLSA.

      77.     Due to the intentional, willful, and unlawful acts of Defendants, Plaintiffs and FLSA

Collective Plaintiffs suffered damages in an amount not presently ascertainable of unpaid wages

and overtime due to invalid tip credit, unpaid wages due to time shaving, illegally retained

gratuities, plus an equal amount as liquidated damages.

      78.     Plaintiffs and FLSA Collective Plaintiffs are entitled to an award of their reasonable

attorneys’ fees and costs pursuant to 29 U.S.C. §216(b).

                                              COUNT II

                     VIOLATION OF THE NEW YORK LABOR LAW
                   ON BEHALF OF PLAINTIFFS AND CLASS MEMBERS

      79.     Plaintiffs reallege and reaver Paragraphs 1 through 78 of this Class and Collective

Action Complaint as fully set forth herein.

      80.     At all relevant times, Plaintiffs and Class members were employed by the Defendants

within the meaning of the New York Labor Law, §§ 2 and 651.

      81.     Defendants willfully violated Plaintiffs’ and Class members’ rights by failing to pay

them the statutory minimum wage and proper overtime premium for their lawful hours worked

due to time-shaving.

      82.     Defendants willfully violated Plaintiffs’ and the Tipped Subclasses’ rights by failing

to pay statutory minimum wage and failing to pay overtime due to an invalid tip credit.




                                                    25
             Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 26 of 28




      83.      Defendants willfully violated Plaintiffs’ and the Tipped Subclasses’ rights by illegally

retaining gratuities.

      84.     Defendants willfully violated Plaintiffs’ and Class members’ rights by failing to pay

“spread of hours” premium to them for each workday that exceeded ten (10) hours.

      85.     Defendants knowingly and willfully operated their business with a policy of not

providing proper wage statements as required under the New York Labor Law. Defendants are

required to provide itemized listings of deductions taken on each wage statement.

      86.     Defendants knowingly and willfully operated their business with a policy of not

providing all non-exempt employees proper wage notice, at date of hiring and annually thereafter,

as required under the New York Labor Law.

      87.     Due to the Defendants’ New York Labor Law violations, Plaintiffs and Class members

are entitled to recover from Defendants unpaid minimum wage and overtime premium due to an

invalid tip credit, spread of hours premiums, unpaid wages due to time shaving, illegally retained

gratuities, damages for unreasonably delayed payments, reasonable attorneys’ fees, liquidated

damages, statutory penalties and costs and disbursements of the action, pursuant to New York

Labor Law.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs on behalf of themselves, FLSA Collective Plaintiffs, and Class

members, respectfully request that this Court grant the following relief:

        a.    A declaratory judgment that the practices complained of herein are unlawful under the

              FLSA and the New York Labor Law;

        b.    An injunction against Defendants and their officers, agents, successors, employees,

              representatives and any and all persons acting in concert with them as provided by



                                                     26
     Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 27 of 28




      law, from engaging in each of the unlawful practices, policies and patterns set forth

      herein;

c.    An award of unpaid wages due under the FLSA and the New York Labor Law,

      including those due to Defendants’ time-shaving practices;

d.    An award of unpaid wages due under the FLSA and the New York Labor Law;

      including those due to an invalid tip credit;

e.    An award of unpaid “spread of hours” premium due under the New York Labor Law;

f.    An award of damages representing Defendants’ illegal retention of gratuities;

g.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

      failure to proper wages pursuant to 29 U.S.C. § 216;

h.    An award of liquidated and/or punitive damages as a result of Defendants’ willful

      failure to pay proper wages pursuant to the New York Labor Law;

i.    An award of prejudgment and postjudgment interest, costs, and expenses of this action

      together with reasonable attorneys’ and expert fees and statutory penalties;

j.    Designation of Plaintiffs as Representatives of the FLSA Collective Plaintiffs;

k.    Designation of this action as a class action pursuant to F.R.C.P. 23;

l.    Designation of Plaintiffs as Representatives of the Class; and

m. Such other and further relief as this Court deems just and proper.




                                             27
          Case 1:22-cv-02083-RA Document 1 Filed 03/14/22 Page 28 of 28




                                           JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand trial by

jury on all issues so triable as of right by jury.


Dated: March 14, 2022

                                                 Respectfully submitted,

                                          By: /s/ C.K. Lee
                                              C.K. Lee, Esq.

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                                                 and the Class




                                                     28
